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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

ORACLE AMERICA, INC.,

Plaintiff,
v.
GOOGLE INC.,
Defendant.

 

 

Notice of Appearance of Valerie W. Ho

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CASE NO. 3:10-cv-03561-WHA

NOTICE OF APPEARANCE OF
COUNSEL
-1- Case No. 3:10-cv-03561-WHA

 
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TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that Valerie W. Ho (hov@gtlaw.com) of Greenberg
Traurig LLP, 2450 Colorado Avenue, Suite 400E, Santa Monica, California 90404,
hereby enters an appearance in the above-captioned case on behalf of Defendant Google

Inc.

DATED: April 8, 2011 GREENBERG TRAURIG, LLP

By:___/s/ Valerie W. Ho
Valerie W. Ho
Attorneys for Google Inc.

Notice of Appearance of Valerie W. Ho -2- Case No. 3:10-cv-03561-WHA

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